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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION


MARIBETH N. JACKSON,

                   Plaintiff,

v.                                            Case No: 6:22-cv-429-PGB-LHP

HUNTER WARFIELD, INC.,

                   Defendant.
                                     /

                          ORDER TO SHOW CAUSE

      This case is before the Court upon periodic review. Defendant has failed to

comply with the Court's Order of March 1, 2022 directing counsel to file a

Certificate of Interested Persons and Corporate Disclosure Statement within

fourteen (14) days of an appearance in the case. Therefore, it is

      ORDERED that the Defendant shall SHOW CAUSE and file a response

to said Order within fourteen (14) days from the date of this Order. Failure to

comply with this Order may result in the imposition of appropriate sanctions.

      DONE AND ORDERED in Orlando, Florida on April 8, 2022.




Copies furnished to:
Counsel of Record
